       Case 3:14-cv-03088-BT Document 1 Filed 08/28/14                Page 1 of 2 PageID 1



                                          CAUSE NO. 14-02545

 DAVID TYLER MOSS,                                §     IN THE DISTRICT COURT
 PLAINTIFF

 vs.                                              §      191ST JUDICIAL DISTRICT

 MARKO PRINCIP,
 DEFENDANT                                               DALLAS COUNTY, TEXAS


               DEFENDANT’S NOTICE OF REMOVAL TO FEDERAL COURT



TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES, MARCO PRINCIP AND BRYAN MARTIN, as Defendants, having been

served with Plaintiff’s 1st Amended Petition file this notice of removal to United States District

Court, Northern District, Dallas Texas pursuant to the following:

         1.      Defendant recently sued as a new party Bryan Martin is not at resident of Texas, but

              a resident of California.

         2.      Plaintiff recently added Brandon Keating is not a Texas resident, but resides in

              Illinois.

              Therefore, based on 28 US code § 1332 and the controlling case law this case must be

         removed to Federal Court and Defendants file this Notice at this time




                                                Respectfully submitted,
                                                LAW OFFICES OF ROBERT D. WILSON, PC




                                                  1
    Case 3:14-cv-03088-BT Document 1 Filed 08/28/14                   Page 2 of 2 PageID 2



                                              BY:  /s/ Robert D. Wilson
                                                 Robert D. Wilson
                                                 State Bar No. 00789823
                                                 18111 Preston Road
                                                 Suite 150
                                                 Dallas, Texas 75252
                                                 (214)637-8866
                                                 (214)637-2702/fax
                                                 Rwilson429@aol.com
                                              ATTORNEY FOR DEFENDANT


                                   CERTIFICATE OF SERVICE
       I certify that a true copy of the above was served on the attorney for the Plaintiff in

accordance with the Texas Rules of Civil Procedure on this 28th of August, 2014.


                                               /s/ Robert D. Wilson
                                              ____________________________
                                                     Robert D. Wilson
                                                  Attorney for Defendant




                                                 2
